      Case 3:13-cr-00214-K IN Document 134
                              THE UNITED    FiledDISTRICT
                                         STATES   07/09/14 COURT
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                                 FOR THE NORTHERN DISTRICT OF TEXAS
                                           DALLAS DIVISION

UNITED STATES OF AMERICA                                   §
                                                           §
VS.                                                        §                       CASE NO.: 3:13-CR-214-K (08)
                                                           §
OROMIDAYO AYANGBEMI                                        §

                              AMENDED* REPORT AND RECOMMENDATION
                                   CONCERNING PLEA OF GUILTY

        OROMIDAYO AYANGBEMI, by consent, under authority of United States v. Dees, 125 F.3d 261 (5th Cir.
1997), has appeared before me pursuant to Fed. R. Crim.P. 11, and has entered a plea of guilty to Count 1 of the 5
Count Indictment, filed on June 12, 2013. After cautioning and examining Defendant Oromidayo Ayangbemi under
oath concerning each of the subjects mentioned in Rule 11, I determined that the guilty plea was knowledgeable and
voluntary and that the offense charged is supported by an independent basis in fact containing each of the essential
elements of such offense. I therefore recommend that the plea of guilty be accepted, and that Defendant Oromidayo
Ayangbemi be adjudged guilty of Conspiracy to Commit Bank Fraud, 18 USC § 1349[18 USC § 1344], and have
sentence imposed accordingly. After being found guilty of the offense by the district judge,

O        The defendant is currently in custody and should be ordered to remain in custody.

G        The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(1) unless the Court finds by clear and
         convincing evidence that the defendant is not likely to flee or pose a danger to any other person or the
         community if released.

         G       The Government does not oppose release.
         G       The defendant has been compliant with the current conditions of release.
         G       I find by clear and convincing evidence that the defendant is not likely to flee or pose a danger to any
                 other person or the community if released and should therefore be released under § 3142(b) or (c).

         G       The Government opposes release.
         G       The defendant has not been compliant with the conditions of release.
         G       If the Court accepts this recommendation, this matter should be set for hearing upon motion of the
                 Government.

G        The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(2) unless (1)(a) the Court finds there
         is a substantial likelihood that a motion for acquittal or new trial will be granted, or (b) the Government has
         recommended that no sentence of imprisonment be imposed, or (c) exceptional circumstances are clearly shown
         under § 3145(c) why the defendant should not be detained, and (2) the Court finds by clear and convincing
         evidence that the defendant is not likely to flee or pose a danger to any other person or the community if
         released.

      Signed July 9, 2014
                                                        ___________________________________
                                                        IRMA CARRILLO RAMIREZ
                                                        UNITED STATES MAGISTRATE JUDGE

                                                       NOTICE

      Failure to file written objections to this Report and Recommendation within fourteen (14) days from the date of
its service shall bar an aggrieved party from attacking such Report and Recommendation before the assigned United
States District Judge. 28 U.S.C. §636(b)(1)(B).

      *Amended to Correct the Conspiracy Statute from 18 USC § 371 to 18 USC § 1349.
